                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                                        No. 7:23-CV-897

INRE:                                          )
                                               )
CAMP LEJEUNE WATER LITIGATION                  )
                                               )                    ORD E R
                                               )
This Document Relates to:                      )
ALL CASES                                      )




        On January 2, 2024, Plaintiffs filed an appeal of the undersigned' s December 19, 2023

Order denying Plaintiffs' motion to compel, [DE-85]. [DE-101]. Accordingly, pursuant to Local

Civ. R. 72.4(a)(l), the Government's response shall be filed by no later than January 16, 2024.

Replies are not permitted absent leave of court. Local Civ. R. 72.4(a)(3).

        So ordered, the 8th day of January 2024.


                                             R~~
                                             United States Magistrate Judge




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